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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LUZ GONZALEZ FELIX,                                :      CIVIL ACTION
Plaintiff,                                         :
                                                   :
   v.                                              :
                                                   :
ANDREW SAUL, et al.,                               :
Defendant.                                         :      No. 20-484




                                    ORDER AND JUDGMENT

        AND NOW, this 27th day of October, 2020, upon consideration of Plaintiff Luz

Gonzalez Felix’s Statement of Issues and Brief in Support of her Request for Review (doc. 11)

and the Commissioner’s Response (doc. 12), it is ORDERED:


   1. Plaintiff’s Request for Review is DENIED;

   2. JUDGMENT is entered in favor of the Commissioner and against Plaintiff; and

   3. The Clerk of Court is DIRECTED to mark this case CLOSED.



                                       BY THE COURT:

                                       /s/ Timothy R. Rice
                                       ___________________________
                                       TIMOTHY R. RICE
                                       U.S. MAGISTRATE JUDGE
